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                                                     July 2, 2024

    VIA ECF ONLY

    The Honorable Rukhsanah L. Singh, U.S.M.J.
    Clarkson S. Fisher Building & U.S. Courthouse
    402 East State Street, Courtroom 7W
    Trenton, New Jersey 08608

             Re:        In re: Johnson & Johnson Talcum Powder Products Marketing, Sales Practices
                        and Product Liability Litig., Case No. 3:16-md-2738 (MAS)/(RLS)

    Dear Judge Singh:

                 We have received J&J’s three-page single-spaced missive filed yesterday afternoon,
    and I write to respond on behalf of Andy Birchfield/Beasley Allen. It is inappropriate for counsel
    to submit a “check-up” letter prodding the Court. Rather, we understand that Your Honors
    appreciate the importance of this matter to Mr. Birchfield and Beasley Allen’s many clients—and
    that Your Honors are engaged in careful deliberation and drafting of an Order and Opinion. If
    Your Honors desire a response to J&J’s letter of July 1, 2024, we are prepared to do so
    substantively immediately. We do not do so now because the record is closed.

            Perhaps more troubling, it is inappropriate to use pleadings as a political forum for J&J’s
    third effort at a bankruptcy filing—which is precisely what J&J is doing here. Courts decide
    issues of law. If the Court would like a substantive response on any of the issues that J&J has
    raised in its letter yesterday, Beasley Allen stands ready to respond.
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            We will await direction from the Courts and wish you and yours a happy 4th of July.

                                                        Respectfully submitted,

                                                        /s/ Jeffrey M. Pollock
                                                        JEFFREY M. POLLOCK

    cc: Hon. John C. Porto, P.J. Civ.
        Counsel of record (Via ECF)
